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EXHIBIT A

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

JORGE MONTES, individually, HILDA

MONTES, individually, and JORGE and

HILDA MONTES, as parents and next

friend of Claudio Montes, a minor,

Case No. 18 cv 8326
Plaintiffs,

Judge Jorge L. Alonso

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)

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VS. )

) Magistrate Judge Maria Valdez

MCT TRANSPORTATION, LLC, )

DANIEL BULTHUIS, and )

COMCAR INDUSTRIES, INC. )
)
)

Defendants.

 

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

 

NOW COME the parties, Plaintiffs Jorge Montes, individually, Hilda Montes,
individually, and Jorge and Hilda Montes, as parents and next friend of Claudio Montes, a minor,
and Defendants MCT Transportation, LLC, Daniel Bulthuis, and Comcar Industries, Inc., and
pursuant to Federal Rule of Civil Procedure 41(a)(1), hereby stipulate to the dismissal of the
above-captioned action with prejudice. It is further stipulated that the parties shall each bear their
own attorneys’ fees and costs.

(Signatures to follow on next page)

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Date: JanuaryZS, 2021 Date: January as 2021

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